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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


MASHPEE WAMPANOAG TRIBE,

                    Plaintiff,

             v.

DAVID L. BERNHARDT, in his official
capacity as Secretary of the Interior, and
UNITED STATES DEPARTMENT OF                       Case No. 1:18-cv-2242-PLF
THE INTERIOR,

                    Federal Defendants,

             v.

DAVID LITTLEFIELD, et al.,

                    Intervenor-
                    Defendants.

                  FEDERAL DEFENDANTS’ NOTICE OF APPEAL

       Pursuant to Rule 3 of the Federal Rules of Appellate Procedure, Federal

Defendants David L. Bernhardt, in his official capacity as Secretary of the Interior,

and United States Department of the Interior, hereby appeal to the U.S. Court of

Appeals for the District of Columbia Circuit from the Court’s June 5, 2020, Opinion

(ECF No. 75), Order (ECF No. 76), and Memorandum Opinion and Order (ECF No.

77).




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      Respectfully submitted this 31st day of July, 2020.

                                         JEAN E. WILLIAMS
                                         Deputy Assistant Attorney General
                                         Environment & Natural Resources Division



                                         /s Sara E. Costello
                                         SARA E. COSTELLO
                                         Trial Attorney
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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 31, 2020, a copy of the foregoing was filed

through the Court’s CM/ECF management system and electronically served on

counsel of record.

                                       /s Sara E. Costello
                                       Sara E. Costello
                                       Trial Attorney




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